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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

RAYMOND SEFAKOR YAO AZUMAH,
Petitioner,
Case No. 1:22-cv-29

Vv.

UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES, ET AL.

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Respondents.

MEMORANDUM OPINION

THIS MATTER comes before the Court on cross-motions for
summary judgment regarding Respondents’ denial of Petitioner's
naturalization application.

On July 26, 2010, Petitioner Raymond Sefakor Yao Azumah was
admitted to the United States as a lawful permanent resident. On
July 11, 2012, Petitioner was convicted in Alexandria General
District Court of embezzlement in violation of Va. Stat. Ann. §
18.2-111.

On December 15, 2013, Petitioner travelled to Ghana fora
family visit and returned to the United States on January 21,
2014. While entering the United States through Washington Dulles
International Airport, Petitioner was deemed an applicant for
admission into the country by Customs and Border Protection

(“CBP”) because of his previous criminal conviction. A CBP

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officer then examined Petitioner on February 20, 2014, and the
Department of Homeland Security (“DHS”) charged Petitioner as
inadmissible to the United States under 8 U.S.C. §

1182 (a) (2) (A) (i) (I) because of his conviction.

Accordingly, Petitioner was subject to removal proceedings
before an immigration judge (“Ig”). The IJ terminated the
proceedings without prejudice after Petitioner and DHS jointly
moved to end them. During his removal proceedings, Petitioner
never applied for a § 212(h) waiver of inadmissibility under the
Immigration and Nationality Act (“INA”), which if granted, would
have eliminated any basis for his potential inadmissibility.

On December 3, 2018, Petitioner filed his application for
United States citizenship with Respondent United States
Immigration and Citizenship Services (“USCIS”), a DHS agency. On
July 5, 2019, USCIS informed him of its intent to deny the
application. USCIS stated Petitioner was not eligible for
naturalization because in its view, he had not been lawfully
admitted to the United States when he last entered the country
carrying a conviction of a crime of moral turpitude. On August
6, 2019, Petitioner responded by arguing he was still eligible
because his status as a lawfully admitted permanent resident had
not changed since he was first admitted to the United States in
2010. He further claimed that only an IJ had the authority to

determine whether his status had changed, which could not have

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occurred due to the termination of his removal proceedings. On
March 5, 2020, USCIS denied Petitioner’s naturalization
application, and Petitioner sought a review and hearing of the
denial pursuant to 8 U.S.C. § 1447(a). USCIS subsequently
interviewed Petitioner and affirmed its denial on the grounds
that he was not eligible to naturalize because, irrespective of
the termination of his removal proceedings, he could not prove
that he had been lawfully admitted upon his last entry to the
United States. Both parties agree that at least under the color
of law, Petitioner has lived in the United States as a lawful
permanent resident since July 26, 2010.

On January 12, 2022, Petitioner brought the instant case
seeking de novo review of USCIS’ decision pursuant to 8 U.S.C. §
1421(c). Petitioner filed a motion for summary judgment on May
20, 2022, and Respondent filed its summary judgment motion on
June 17, 2022. The motions have been fully briefed and this
Court is prepared to rule on the papers.

The Federal Rules of Civil Procedure govern proceedings under
8 U.S.C. § 1421(c). Fed. R. Civ. P. 81(a) (3). Under Rule 56, a
court should grant summary judgment if the pleadings and evidence
show that there is no genuine dispute as to any material fact and
that the moving party is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(c); see Celotex Corp. v. Catrett, 477 U.S. 317,

322 (1986). A district court reviews a USCIS decision denying a
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naturalization application de novo, making its own findings of

fact and conclusions of law. 8 U.S.C. § 1421(c); see also Injeti

v. USCIS., 737 F.3d 311, 315 (4th Cir. 2013). Summary judgment is
appropriate where the parties do not dispute the material facts

underlying a USCIS decision. Dung Phan v. Holder, 722 F. Supp. 2d

659, 661 (E.D. Va. 2010).

The Court finds there are no material facts in dispute and
this case is ripe for summary judgment.

“Citizenship is a high privilege, and when doubts exist
concerning a grant of it, generally at least, they should be
resolved in favor the United States and against the claimant.”

United States v. Manzi, 276 U.S. 463, 467 (1928). A court has

“the power to confer citizenship only in ‘strict compliance with

the terms of an authorizing statute.’” Cody v. Caterisano, 631

F.3d 136, 142 (4th Cir. 2011) (quoting INS v. Pangilinan, 486

U.S. 875, 884 (1988)). Under 8 U.S.C. § 1427(a), a person must
meet several statutory requirements to be eligible for
naturalization, and applicants have the burden of demonstrating

their eligibility in every respect, Pangilinan, 486 U.S. at 886,

by a preponderance of the evidence. 8 C.F.R. § 316.2(b).

At issue here is the requirement that “no person shall be
naturalized unless he has been lawfully admitted to the United
States for permanent residence in accordance with all applicable

provisions of [the INA].” 8 U.S.C. § 1429. The term “lawfully
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admitted for permanent residence” is defined as the “status of
having been lawfully accorded the privilege of residing
permanently in the United States as an immigrant in accordance
with the immigration laws, such status not having changed.” 8
U.S.C. § 1101(a) (20). Regulation 8 C.F.R. § 316.2(b) further
clarifies that any such applicant for citizenship must not only
demonstrate he was lawfully admitted as a permanent resident “in
accordance with the immigration laws in effect at the time of
the applicant’s initial entry,” but also at the time of “any
subsequent reentry.” Generally, US permanent residents need not
demonstrate they were lawfully admitted into the country during
their reentry because they are not treated as applicants for
admission. See 8 U.S.C. § 1101(a) (13) (C). However, there is an
exception for those permanent residents who are convicted of
crimes “involving moral turpitude.” See id. §§

1101 (a) (13) (C) (v); 1182(a) (2) (A) (i) (I). They are then treated

like any other applicant for admission, Othi v. Holder, 734 F.3d

259, 267 (4th Cir. 2013), which for purposes of naturalization,
means they have the burden of demonstrating their lawful
admission. 8 C.F.R. § 316.2(b).

Both parties agree that Petitioner was convicted of a crime
of moral turpitude, and was therefore rightly deemed an
applicant for admission during his latest entry into the United

States. The question then is whether Petitioner has demonstrated
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by a preponderance of the evidence the lawfulness of his
admission during his latest reentry, and thus eligible for
naturalization.

Petitioner contends that because his removal proceedings
were terminated, he was never determined to be inadmissible into
the country and should therefore be presumed lawfully admitted.
But that argument both misplaces the burden of proof in
naturalization proceedings and overstates the significance of
any findings, or lack thereof, in removal proceedings. It is
Petitioner’s burden to demonstrate by a preponderance of the
evidence that he was lawfully admitted, not USCIS’, and he has
provided no evidence as to why his most recent entry was lawful.
He did not receive a § 212(h) waiver, which would have excused
his criminal conviction and eliminated any basis for his

inadmissibility. See Leiba v. Holder, 699 F.3d 346, 348 (4th

Cir. 2012). The fact that an Id made no determination as to his
jnadmissibility in removal proceedings is irrelevant. With
respect to matters of naturalization, neither USCIS nor this
Court owes any deference to the findings or lack thereof by an

Ig in removal proceedings. See Johnson v. Whitehead, 647 F.3d

120, 130 (4th Cir. 2011) (“Although immigration judges
have responsibilities in the immigration area, naturalization is
not among them. Thus, DHS is the only body statutorily vested

with the power to make naturalization decisions in the first

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instance.”); see also Nesari v. Taylor, 806 F. Supp. 2d 848, 868

(E.D. Va. 2011); Mobin v. Taylor, 598 F. Supp. 2d 777, 784-85

(E.D. Va. 2009). Therefore, Petitioner has not met his burden of
demonstrating he was lawfully admitted when he last entered this
country.

In the alternative, Petitioner argues that irrespective of
the lawfulness of his latest entry, his undisputed status as a
lawful permanent resident is sufficient to make him eligible for
citizenship under 8 U.S.C. § 1429 because it demonstrates he was
lawfully admitted at one point in time. He states that 8 C.F.R.
§ 316.2(b) is ultra vires insofar as it notes that to maintain
eligibility for citizenship, an applicant’s subsequent reentry
must be lawful. However, 8 C.F.R. § 316.2(b) does not expand or
redefine the requirements for citizenship under 8 U.S.C. § 1429,
but rather clarifies that the statute’s lawful admission
requirement is ongoing. This is a reasonable interpretation of a
statute that stresses the continuous nature of naturalization
requirements: “No person .. . shall be naturalized unless such
applicant .. . has resided continuously, after being lawfully
admitted for permanent residence, within the United States for
at least five years ... .” 8 U.S.C. § 1427(a).

For the aforementioned reasons, this Court finds that
Respondents’ motion for summary judgment should be granted,

Petitioner’s motion for summary judgment should be denied, and
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USCIS’ denial of Petitioner’s naturalization application should

be affirmed. An appropriate order shall issue.

Ces. cbe. In. Htta

CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
September /@ , 2022
